Gmail - Following up                                     https://mail. oo le.com/mail/u/2/?ik=fl4031782d&view=pt&searcli= ..
             Case 4:22-cv-00559-ALM Document 30-3 Filed 11/06/23 Page 1 of 2 PageID #: 554
                         EXHIBIT C
                 Gmail                                Jenna Ryan <jennaryanrealty@gmail.com>


        Following up
        Suzette Petrasanta <suzette@legalist.com> Wed, Jun 28, 2023 at 3:40 PM
        To: jennaryanrealty@gmail.com
        Cc: Jameson Morton <jameson@legalist.com>, Elvira Masferre <elvira@legalistcom>

         Hi Jenna,

         I wanted to circle back with you regarding the JLR Global, LLC et al case. Jameson
         had a chance to discuss with our underwriting team, and based on our current
         understanding, while we still think that this case may have strong liability, it's likely not
         yet a good fit for our investment criteria at this time. We wanted to let you know
         sooner rather than later.

         Can you keep us in the loop as the case progresses? We look forward to seeing how
         things progress and hopefully working together in the future.

         Best,
         Suzette L. Petrasanta
         Executive Assistant
         LEGALIST, INC.
         t: (415) 570-7878
         58 West Portal Ave #747
         San Francisco, CA 94127
         www.legalist.com




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              Case 4:22-cv-00559-ALM Document 30-3 Filed 11/06/23 Page 2 of 2 PageID #: 555
                                           EXHIBIT C
                 Gmail                                      Jenna Ryan <jennaryanrealty@gmail.com>


         FW: Pravati Capital Introduction
         John Pierce <jpierce@johnpiercelaw.com>                                 Wed, Jun 21, 2023 at 3:45 PM
         To: Jenna Ryan <jennaryanrealty@gmail.com>


          Just FYI on Pravati.




          From: Aaron Lloyd <aaron@pravaticapital.com>
          Sent: Wednesday, June 21, 2023 4:21 PM
          To: John Pierce <jpierce@johnpiercelaw.com>
          Cc: Samantha Polk <samantha@pravaticapital.com>
          Subject: RE: Pravati Capital Introduction



          John,




          We thank you for bringing the Jenna Ryan case to us but have decided to pass. We
          look forward to hearing more on the vaccine cases and any others you d like to share
          with us.




          Thanks,




                                            Aaron Lloyd, Esq. | Legal Investment Analyst

            Pravati Capital                 O: 844-772-8284

                                            0:480-718-3142

                                            W: pravaticapital.com




1 of 5                                                                                                           11/4/23, 12:24 PM
